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 7

 8                                         UNITED STATES DISTRICT COURT
 9                                                 DISTRICT OF NEVADA
10   EMPIRE FIRE AND MARINE INS. CO.,                          )       Case No.: 2:21-cv-00289-JCM-EJY
                                                               )
11                        Plaintiff,                           )       STIPULATED TO EXTEND DISCOVERY
                                                               )
12                        vs.                                  )       FIRST REQUEST
                                                               )
13   NICOLE ELYSE BROOKS, et al.                               )
                                                               )
14                        Defendants.                          )
                                                               )
15

16              Plaintiff Empire Fire and Marine Ins. Co. ("Plaintiff") and Defendants Jose Rodriguez,

17   Jacob Ramirez and Jose Luis Tello-Robles (collectively "Defendants"), by and through counsel,

18   stipulate and agree as follows:

19              WHEREAS, this matter is an insurance coverage dispute arising from a two (2) vehicle auto

20   accident which involved a vehicle Defendant Nicole Brooks ("Brooks")1 rented from Malco

21   Enterprises of NV, dba Budget Rent A Car of Las Vegas ("Budget");

22              WHEREAS, Brooks purchased excess liability insurance in connection with the rental;

23              WHEREAS, the Defendants have commenced with an underlying suit in which they seek

24   damages based on the contention that Brooks was at fault for the accident;

25              WHEREAS, Plaintiff alleges the accident was staged and commenced with the instant

26   action;

27

28   1
         As Brooks has not appeared, this Court has entered her default. Dkt. No. 17..

                                                                   1
     STIPULATION                                                                         Case No.: 2:21-cv-00289-JCM-EJY
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 1          WHEREAS, Plaintiff, who has identified several witnesses that may possess relevant

 2   information, has completed several depositions in the case and has diligently sought to depose

 3   various additional third party witnesses via subpoena in advance of the February 11, 2022 deadline

 4   to complete discovery [Dkt. No. 10];

 5          WHEREAS, one third party witness (Daisy Diaz) has requested that her deposition proceed

 6   on February 16, 2022;

 7          WHEREAS, another third party witness (Toybe Bennett) failed to show for his deposition

 8   while Plaintiff has been unsuccessful in locating two additional third party witnesses - Kim Hodges

 9   and Gheta Elliott.

10          WHEREAS, Plaintiff would like additional time to complete the deposition of D. Diaz, re-

11   subpoena T. Bennett and locate K Hodges and G. Elliott;

12          WHEREAS, Defendants are amenable to extend the discovery deadline;

13          WHEREFORE, the parties stipulate and agree to extend the discovery deadline by 45 days

14   to March 28, 2022.

15          IT IS SO STIPULATED.

16   Dated: February 3, 2022

17
            MORALES FIERRO & REEVES                             GEORGE T. BOCHANIS, LTD.
18

19
     By:    /s/ William C. Reeves                         By:   /s/ George T. Bochanis
20          William C. Reeves                                   George T. Bochanis
            MORALES FIERRO & REEVES                             GEORGE T. BOCHANIS, LTD.
21          Attorneys for Plaintiff                             Attorneys for Defendants
22

23          The Court, having considered the Stipulation of the parties and good cause appearing, agrees
24   to to extend the deadline to complete discovery to March 28, 2022.
25          IT IS SO ORDERED:
26   Dated: February 3, 2022
27
                                                  UNITED STATES MAGISTRATE JUDGE
28

                                                      2
     STIPULATION                                                          Case No.: 2:21-cv-00289-JCM-EJY
